                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

IN RE:                                        )       Case No.: 18-03512
                                              )
GREGORY KENT QUINN,                           )       Chapter 11
              DEBTOR.                         )       Judge Harrison

                          U.S. TRUSTEE’S MOTION TO DISMISS

         The U.S. Trustee, Region 8, moves the Court for an order pursuant to 11 U.S.C. §

1112(b)(1) to dismiss this case. This motion is excluded from Local Rule 9013 and, pursuant to

11 U.S.C. § 1112(b)(3), the U.S. Trustee requests a hearing date no later than 30 days after the

filing date of this motion. In support of this Motion, the U.S. Trustee asserts as follows:

         1.    This Court has jurisdiction to hear and determine this Motion pursuant to 28 U.S.C.

§ 157(b)(2)(A).

         2.    Pursuant to 28 U.S.C. § 586(a)(3)(G), the U.S. Trustee is charged with monitoring

the progress of cases under the Bankruptcy Code and taking such actions as the U.S. Trustee deems

appropriate to prevent undue delay in such progress. The U.S. Trustee has standing to be heard on

this Motion to Dismiss pursuant to 11 U.S.C. § 307.

         3.    On May 24, 2018, Debtor filed a bankruptcy petition seeking relief under Chapter

11 of the Bankruptcy Code.

         4.    On October 10, 2019, Debtor confirmed a Chapter 11 Plan of Reorganization

(“Plan”). [Docket Entry 48]. The Effective Date under the Plan is October 24, 2019.

         5.    The Plan (Section 5.01) required Debtor was to pay $150,000 to Cascade Funding

Mortgage Trust 2017-1 on the Effective Date. Debtor’s September Monthly Operating Report

(Docket 92) reflects a balance of $1,579.71 and based on information and belief, Debtor has not

paid Cascade Funding Mortgage Trust 2017-1. The monthly operating reports also reflect that




Case 3:18-bk-03512       Doc 93     Filed 10/25/19 Entered 10/25/19 11:56:02             Desc Main
                                    Document     Page 1 of 4
Debtor has not paid attorney’s fees approved by the Court, which are administrative expenses that

are required to be paid on the Effective Date under Article III of the Plan. See Plan at Docket

Entry 89; Orders of Compensation at Docket Entries 38, 69.

       6.      A creditor or party in interest, including the U.S. Trustee, may bring a motion to

convert or dismiss the case under § 1112(b) after the Plan is confirmed if there is a default in

performing under the Plan. Section 1112(b)(1) of the Bankruptcy Code mandates that the

bankruptcy court convert or dismiss a chapter 11 case, whichever is in the best interests of creditors

and the estate, if the movant establishes cause. In re V Companies, 274 B.R. 721, 740 (Bankr. N.D.

Ohio 2002). Section 1112(b)(4) of the Bankruptcy Code fails to define the term “cause,” but

provides a non-exclusive list of circumstances that constitute “cause” for conversion or dismissal.

In re Fall, 405 B.R. 863, 867 (Bankr. N.D. Ohio 2009). Cause includes inability to effectuate

substantial consummation of a confirmed plan. 11 U.S.C. § 1112(b)(4)(M).

       7.      Cause exists in this case because Debtor has failed to effectuate substantial

consummation of his confirmed plan by failing to make payments required under the Plan on the

Effective Date.

       8.      As there does not appear to be any unencumbered assets and a Chapter 11 Plan of

Reorganization has been confirmed, dismissal appears to be in the best interest of creditors.




Case 3:18-bk-03512       Doc 93     Filed 10/25/19 Entered 10/25/19 11:56:02              Desc Main
                                    Document     Page 2 of 4
       WHEREFORE, the U.S. Trustee respectfully requests that the Court enter an Order

dismissing the case and any other relief as may be appropriate.

                                       Respectfully submitted,

                                       PAUL RANDOLPH,
                                       ACTING US TRUSTEE, REGION 8

                                         /s/ Megan Seliber
                                       Megan Seliber
                                       US Trustee’s Office, Trial Attorney
                                       318 Customs House, 701 Broadway
                                       Nashville, TN 37203
                                       (615) 695-4060; (615) 736-2260 (Fax)
                                       Megan.Seliber@usdoj.gov


                                 CERTIFICATE OF SERVICE

        I certify that on October 25, 2019, a copy of the foregoing document was sent
electronically to registered ECF users and by first class mail, postage prepaid, to the entities
listed on the mailing matrix:

                                                      /s/ Megan Seliber
                                                      MEGAN SELIBER




Case 3:18-bk-03512       Doc 93     Filed 10/25/19 Entered 10/25/19 11:56:02              Desc Main
                                    Document     Page 3 of 4
Label Matrix for local noticing                      Cascade Funding Mortgage Trust                       Minchey’s Landscaping & Garden Center,
0650-3                                               14841 Dallas Parkway Suite 300                       10425 Lebanon Rd.
Case 3:18-bk-03512                                   Dallas, Tx 75254-7883                                Mt. Juliet, TN 37122-5507
MIDDLE DISTRICT OF TENNESSEE
Nashville
Fri Oct 25 11:52:14 CDT 2019
PRA Receivables Management, LLC +                    701 Broadway Room 170                                Bank of America
PO Box 41021                                         Nashville, TN 37203-3979                             P. O. Box 15026
Norfolk, VA 23541-1021                                                                                    Wilmington DE 19850-5026



Cascade Funding Mortgage Trust 2017-1                Cascade Mortgage Funding Trust 2017-1                SLS
c/o Specialized Loan Servicing LLC                   c/o                                                  8742 Lucent Boulevard
8742 Lucent Blvd, Suite 300                          Statebridge Company                                  Suite 300
Highlands Ranch, Colorado 80129-2386                 5680 Greenwood Plaza Blvd.                           Highlands Ranch CO 80129-2386
                                                     Suite 100 S
                                                     Greenwood Village, CO 80111-2404
Synchrony Bank                                       US TRUSTEE +                                         Gregory Kent Quinn
c/o PRA Receivables Management, LLC                  OFFICE OF THE UNITED STATES TRUSTEE                  2371 Benders Ferry Road
PO Box 41021                                         701 BROADWAY STE 318                                 Mount Juliet, TN 37122-5422
Norfolk VA 23541-1021                                NASHVILLE, TN 37203-3966


JOSEPH P RUSNAK +
TUNE ENTREKIN & WHITE PC
315 DEADERICK STREET STE 1700
NASHVILLE, TN 37238-1700




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Cascade Mortgage Funding Trust 2017-1             (d)Minchey’s Landscaping & Garden Center             (d)PRA Receivables Management, LLC
                                                     10425 Lebanon Rd.                                    PO Box 41021
                                                     Mt. Juliet, TN 37122-5507                            Norfolk, VA 23541-1021



End of Label Matrix
Mailable recipients    12
Bypassed recipients     3
Total                  15




               Case 3:18-bk-03512            Doc 93       Filed 10/25/19 Entered 10/25/19 11:56:02                      Desc Main
                                                          Document     Page 4 of 4
